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THIS ORDER IS SIGNED AND ENTERED.
Dated: July 2, 2021
The statements following "HEREBY FINDS" and
before "HEREBY ORDERS" result from their
inclusion in a proposed order approved by parties
who, after notice, expressed an interest in the sale
motion. No one requested an evidentiary hearing;
the court did not receive evidence. Assertions not
otherwise established by the record result from
party agreement with the proposed order. This
qualification does not limit the order's effect.
"Exhibit 1" refers to the first attached EXHIBIT
A and its attachments.      UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

 In re:   ENGINEERED PROPULSION SYSTEMS, INC.,                        Case No. 20-11957-gmh

                                Debtor.                                       Chapter l I


          ORDER AUTHORIZING SALE OF ASSETS UNDER 11 U.S.C. §363


          Upon the motion (the "Motion") of the above-captioned debtor (the "Debtor") for entry of

 an order (this "Sale Order") approving the sale ("Sale") of certain assets of the Debtor (the

 "Assets") free and clear of all Liens (as defined below) to General Atomics Aeronautical

 Systems, Inc. (together with its successors, designees and assigns, the "Buyer"); and it appearing

 that Buyer has submitted the highest or otherwise best bid for the Assets; and upon adequate and

 sufficient notice of the Motion, the Agreement, and the Sale; and the Court having reviewed and

 considered the Motion and all relief related thereto and any objections thereto; and upon the full

 record in support of the relief requested by the Debtor in the Motion; and this Court having

 jurisdiction to enter a final order approving the Sale and the Agreement consistent with Article Ill

 of the United States Constitution; and after due deliberation thereon, and good and sufficient

 cause appearing therefor,




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         2.     Insofar as it pertains to the allocation of the Purchase Price, the Court defers

 consideration of the limited objection to the Motion filed by EPS Engineered Propulsion Systems,

 Inc. (the "DIP Lender") (ECF No. 360) (provided, however, that to the extent such objection

 objects to the Sale itself, to the transfer of the Assets free and clear of the DIP Liens or any other

 Liens, or to the payments to First National Community Bank, Wisconsin Economic Development

 Corporation, or US Bank Equipment Finance that are contemplated by the Agreement, then such

 objection is overruled, and with respect to the UST fees, premium for the D&O tail policy, and

 personal property taxes, such objection is rendered moot by agreement of the DIP Lender to

 payment of such amounts).

         3.     The Limited Objection to Second Section 363 Motion and Proposed Order filed by

 First National Community Bank (ECF No. 351) has been withdrawn, subject to the agreement of

 all parties that Section 2.2(a)(2) of the Agreement is revised to read as follows:

         In the event that the amounts described in Section 2.2(a)( I) exceed the
         Purchase Price Cushion, then the Buyer may elect to shall increase the
         Purchase Price to fund such additional amounts or terminate this
         Agreement pursuant to Section 8.1G).

 Contingent on receipt of the full payoff sum owed to First National Community Bank at

 Sale Closing, First National Community Bank has consented to the surcharge of its

 collateral for the Carveout for Professionals, as set forth in Schedule 2.2 of the Agreement,

 and further consents to the surcharge of its collateral for the payment of the quarterly fees

 owed to the United States Trustee, the policy premium for the tail insurance, personal

 property taxes and the pre-paid $161,300 deposit.


         4.     Other than the amount of the Purchase Price to be distributed to First National

 Community Bank, Wisconsin Economic Development Corporation, US Bank Equipment

 Finance, D&O tail insurance, UST fees, and personal property taxes, the remaining amount


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